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November 24, 2020



Dear Judge Neureiter,

I first met Andres Cuetara in the mid 1990’s when we worked together at the Auraria Book
Center. As a co-worker of Andres I can testify that he was punctual, dependable, hardworking,
friendly, and easy to get along with. In the fall of 1999 he and another co-worker (Dave Wilson)
indicated that they were looking to move into an apartment and wanted to know if I’d be
interested in splitting the rent/utilities in a three bedroom unit (since they knew I was looking
for a place to live as well). I agreed and we found an apartment that suited us, and moved in
within a few weeks. In 2008 Dave bought his own place and moved out and Andres and I stayed
in the 3 bedroom unit choosing to use the room Dave occupied as storage space. In the fall of
2014 I got a house and indicated to Andres that I wouldn’t be renewing the annual lease we
were in. I communicated to Andres that he could rent a room in the house I was getting and I
would charge him the portion he was paying in the apartment. He agreed the arrangement I
suggested would work out for him and we moved in. In the summer of 2018 Dave Wilson
communicated that he was looking for a place to live and wanted to know if I’d be willing to
rent one of the rooms in my house out to him. I told him that would be fine and we worked out
a rent amount that would be acceptable, and within a couple of months he moved in. In all the
time I’ve shared the apartment or rented out a room to Andres I’ve found him to be an
excellent roommate and tenant. He is considerate of others, he’s dependable, and he has never
been late with his share of the rent/utilities. I’ve never seen or sensed Andres to be someone
who would intentionally harm somebody physically or mentally. As long as I’ve known him he’s
always been somebody who will go out of his way to help other people without a complaint.

If Andres were to get released on bond I would have no problem allowing him to stay in the
room he was in (even if he didn’t have a rental agreement with me already). He would be
welcome to stay in the house as long as he needed too while he worked through his legal
issues.

In conclusion I’d just like to say that I believe deep down Andres is a good hearted person who
wouldn’t intentionally harm anyone. If you have any questions or need any further information
from me about Andres please don’t hesitate to call at (303)437-1380.


Sincerely,

Ken Stock
